                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )       NO. 3:10-00065
                                                   )       JUDGE CAMPBELL
VICTOR L. OWENS                                    )

                                           ORDER

       Pending before the Court is the Defendant’s Motion For Leave To File Under Seal (Docket

No. 161). The Motion to file the motion to suppress under seal is DENIED. The motion to suppress

should be filed in the public record. The motion must be accompanied by a separate brief, which

may be filed under seal along with any supporting information.

       It is so ORDERED.

                                                   ____________________________________
                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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